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 UNITED STATES DISTRICT COURT:
 EASTERN DISTRICT OF NEW YORK

 Richard Roe,

                                       Plaintiff,       ORAL ARGUMENT REQUESTED
        -   against –

 St. John’s University and Jane Doe,                                   19-cv-04694

                               Defendants.                             PKC-RER
 ___________________________________




                ROE’S MEMORANDUM OF LAW IN OPPOSITION TO ST.
                JOHN’S MOTION TO DISMISS HIS SECOND AMENDED
                COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)




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 UNITED STATES DISTRICT COURT:
 EASTERN DISTRICT OF NEW YORK

 Richard Roe,
                                                                      19-cv-04694
                               Plaintiff,
        -   against –                                                 PKC-RER

 St. John’s University and Jane Doe,

                         Defendants.
 ___________________________________


 Preliminary Statement
        In September 2018, fellow student Jane Doe complained to St. John’s about plaintiff
 Roe’s April 2018 alleged sexual misconduct against her in her bed at a dormitory in Paris,
 including alleged digital penetration. But on October 15, a St. John’s faculty hearing board
 determined that Roe was responsible only for conduct he admitted – that Doe took his hand and
 placed it on her breasts and that he was not drinking at the time. Nevertheless, St. John’s
 suspended Roe for a semester.
        After St. John’s re-admitted Roe for the spring semester in November, Doe authored the
 language of a January 4, 2019, tweet. It falsely stated that Roe had received only a half semester
 “suspension” for “raping me.” More than 2,000 other tweets were also posted on January 4 2019,
 detailing women’s alleged experiences of sexual misconduct at St. John’s. (the “tweet storm”)
 As a result of the tweet, a second accuser of Roe (“Mary Smith”) came forward on January 5,
 2019. St. John’s gave Roe a standard no contact letter with respect to Smith’s complaint on
 January 7, 2019, but then, on January 8, 2019, without explanation, St. John’s summarily
 suspended Roe. Two hours later, St. John’s, denied Roe’s November appeal of the Doe
 complaint sanctions.
         Roe’s counsel complained against Doe about the tweet to both a St. John’s Dean and its
 Counsel on January 7, 2019. St. John’s memo (at page 5) falsely states that St. John’s
 “immediately investigated.” Although, St. John’s acknowledged in writing on January 16 that
 Roe was a “victim” of “sexual misconduct” because of the tweet, it never investigated or
 corrected the falsity of the tweet. It merely took the position that the tweet was anonymous
 without even a phone call to Doe.


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        Roe’s counsel made complaints about Doe with respect to the tweet on January 7, June
 12 and July 18, because the tweet had “gone viral” and Roe’s counsel was concerned that Roe
 would not be able to receive a fair hearing on the Smith complaint. The panel members would
 obviously be aware from the tweet of Roe’s “suspension” for “rape.” Nevertheless, the Smith
 hearing went forward, Roe was found to have committed a “non-consensual sexual touching,”
 and he was permanently “expelled.” St. John’s rejected his appeal, the Chair of the appeals body
 stating, inter alia, that Roe had “digitally penetrated” Smith, directly contrary to the finding of
 the hearing panel.
 1) Statements of fact from Roe’s complaint (April 2018 – January 2019)
        The incident in Paris: On April 12, 2018, Roe was in Paris at a local club, to celebrate a
 birthday with fellow St. John’s students studying abroad. (Cpl. ¶ 13). Doe asked Roe to dance,
 and they did. (Cpl. ¶ 14). Sometime later, Doe told Roe that she was returning to the St. John’s
 dorm where both were staying. (Cpl. ¶ 15). Doe said she was taking an Uber, gave Roe her room
 number and asked him to “check on her” when he arrived back at the dorm. (Cpl. ¶ 17). Several
 hours later, Roe went to Doe’s room and found her awake and on her phone. (Cpl. ¶ 18). Doe
 invited Roe into her room, and, thereafter, Doe took Roe’s right hand and placed it upon her fully
 clothed breasts. (Cpl. ¶ 19). He told Doe, “I am not interested in sex.” (Cpl. ¶ 20). She replied,
 “Then, get the hell out of here,” and he left. (Cpl. ¶ 21).
        Doe’s September 2018 complaint and the October faculty board proceeding: On
 September 4, 2018, Roe was notified by St. John’s that Doe had submitted a complaint (“Doe’s
 complaint”) alleging four St. John’s Code of Conduct violations. (Cpl. ¶ 22). On October 3,
 2018, Roe attended a St. John’s Faculty Board “Conduct Hearing” scheduled to determine them.
 (Cpl. ¶ 26). On October 15, 2018, St. John’s notified Roe (the “October 15 letter”) that he had
 been found “in violation” of one of St. John’s rules, i.e., prohibiting “Non-Consensual Sexual
 Contact.” It informed him that he was suspended indefinitely. (Cpl. ¶ 27). The October 15 letter
 stated the Faculty Board grounds for its finding as follows:
                The following rationale has been provided by the hearing officer/board:
                “The respondent admitted (emphasis supplied) in engaging in physical
                contact of a sexual nature with the complainant, and the evidence
                demonstrated a lack of affirmative consent to engage in such contact.
                Such evidence included the complainant’s intoxication, as described by
                multiple witnesses, and the respondent’s assertion, which was not disputed,
                that he was not impaired by alcohol.” (Cpl. ¶ 28)



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    Roe admitted only that Doe took his hand and placed it on her fully- clothed breasts, and that
    he had not been drinking.
        Doe’s three unproved allegations. Roe was found innocent of the following three of
    Doe’s complaints. (From St. John’s Exhibit G, available to Roe in drafting his complaint.)
        1. Non-Consensual Sexual Contact: The Complainant stated that on April 12,
        2018, she and other friends had decided to go to a local club (“Duplex”) to
        celebrate a birthday. While at the club, the Complainant stated that the
        Respondent had approached her on the dance floor and kissed her on the mouth
        without prompting or invitation.

        2. Sexually Inappropriate Conduct: At approximately 6:30 AM, the Complainant
        reported that she awoke to find the Respondent in her bed without permission or
        knowledge of how he got there. The Complainant stated that the Respondent
        moved to the side of the bed and began to masturbate.

        4. Non-Consensual Sexual Penetration: At approximately 6:30AM, the
        Complainant reported that she awoke to find the Respondent in her bed without
        permission or knowledge of how he got there. The Complainant stated that the
        Respondent was laying in the bed and that he was digitally penetrating her
        vagina.

    Roe’s November appeal of the October 15 ruling and his re-admission to class
    In November, Roe appealed his October 2018 suspension to the St. John’s conduct appeals
 board (the “Appeals Board”) on grounds, inter alia, that he was not given the “opportunity,”
 pursuant to Policy 703, to submit a written impact statement “to the decision-maker prior to a
 determination of an appropriate sanction(s).” (Cpl. ¶ 35). Also, in November, St. John’s readmitted
 Roe to resume classes in January. (Cpl. ¶’s 36).
 2) St. John’s inaccurate statements to the Court
    In St. John’s memo, it made material inaccurate statements to the Court as follows:
      a) Inaccurate statement #1:
    On page 3 of its Memorandum, St. John’s states:
        The first of Plaintiff’s two violations of the Student Code occurred on April 12,
        2018, when he and co-defendant “Jane Doe” (“Doe”) were studying abroad.
        Specifically, Doe reported that “At approximately 6:30 AM, [she] reported that
        she awoke to find the [Plaintiff] in her bed without permission or knowledge of
        how he got there[.] Doe reported that “[Plaintiff] was laying in the bed and
        touching her breasts, that he was digitally penetrating her vagina, and that she
        could feel his erect penis touching her back.” (Hurwit Decl., Ex. E.)




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 In fact, as set forth above, the St. John’s faculty board found Roe innocent of most of these
 allegations and ignored the rest. The quote is from Doe’s complaint to a St. John’s investigator
 which preceded the faculty board hearing. (Exhibit E was not available to plaintiff in drafting his
 complaint.) (See Eikenberry affirmation.).
      b) Inaccurate statements #s 2 and 3:
 St. John’s counsel Joshua S. Hurwit, in his May 8, 2020, declaration, affirmed as follows that:
        Attached as Exhibit E is a true and correct copy of SJU’s Final Title IX
        Investigating Officers Report (without exhibits), dated July 19, 2018, a copy of
        which Plaintiff received. (Emphasis supplied)

 Mr. Hurwit also affirmed as follows that:

        Attached as Exhibit K is a true and correct copy of SJU’s Final Title IX
        Investigating Officers Report (without exhibits), dated February 7, 2019, a copy
        of which Plaintiff received. (Emphasis supplied).

 Yet, neither Roe nor his counsel “received” a copy of either of the two investigators'
 reports prior to receipt of Mr. Hurwit’s declaration. (Eikenberry affirmation).

 3) Statements of fact (January 4, 2019 – January 16, 2019)
           a)   The “tweet storm.” On January 4, 2019, the hashtag “#SurvivingSJU” was

       created. (Cpl. ¶ 37). It was the number one hashtag “trending” on Twitter in the U.S. from

       January 4, 2019, to January 6, 2019. (Cpl. ¶ 38). On January 8, the St. John’s student

       newspaper, “The Torch,” reported that:

        More than 2,000 tweets surfaced on Friday, Jan. 4 [the date #SurvivingSJU was
        created] detailing alleged experiences of sexual misconduct that had taken place
        at St. John’s. (Cpl. ¶ 48).

 In response to the over 2,000 tweets posted to the #SurvivngSJU hashtag, on January 8, St. John’s

 publicly announced that it would investigate all posted claims. (Cpl. ¶’s 48- 49).

           b) Doe’s defamatory tweet. On January 4, 2019, Doe authored a tweet (the “tweet”)
       which stated that, “[Roe] after raping me…only got half a semester suspension…” (Cpl. Ex.
       2); the tweet included a picture of Roe. Doe almost instantly “liked” the anonymously posted
       tweet, and less than 30 minutes later, posted in another tweet from her personal account that



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        she had written a “final statement” for the University Conduct Hearing (referencing the
        confidential proceedings) instead of “writing essays” for her classes. (Cpl. ¶’s 37-40).
         St. John’s Policy 703 mandates confidentiality with respect to sexual misconduct hearing
  and findings, and only Doe, Roe and University officials were informed of Roe’s suspension and
  the reason for it. Since the tweet specifically references Roe’s suspension for sexual misconduct
  against the author of the tweet, the only person who could have authored the confidential
  information in the tweet was Doe.
            c)   The “tweet storm” affected Roe. On January 5, 2019, one day after the tweet, a
        male student threatened to “fuck [Roe] up” via phone calls and text messages. On January
        5, 2019, one day after the tweet was published, in a complaint to St. John’s, a second
        female student (“Mary Smith”) complained to St. John’s about Roe’s sexual misconduct.
        A female St. John’s student punched Roe in his face at a bar (Cpl. ¶’s 46-47).
            d) St. John’s arbitrary reversal of ruling. On January 7, 2019, Roe was given a
        “no contact” notification which permitted him to attend classes. One day later, on January
        8, 2019, St. John’s abruptly reversed its prior ruling regarding Roe’s status at St. John’s
        and arbitrarily suspended him from St. John’s without a hearing, explanation or citation of
        rule. Later the same day, Roe was confusingly given a second “no contact” letter
        permitting him to attend classes. (In contrast, Roe attended classes during investigation of
        Doe’s complaint.) (Cpl. ¶’s 51-53).
            e)   Determination of Roe’s October 2018 appeal: On January 8, 2019, St. John’s
        also determined Roe’s appeal as follows:
         [Roe] argues that the “Conduct Board mandated sanctions simultaneously
         with the finding of his misconduct” and, therefore, he did not have the
         opportunity to submit a written impact statement
         Section VII (G) of University Policy 703…is not part of the Code of Student
         Conduct or its process. . The Code of Student Conduct provides that only a
         complainant in a Title IX-related student conduct matter has a right to present a
         written impact statement.
         *                                     *                             *
         There was… time for Respondent to submit whatever impact statement he
         wished. Although the Respondent may not have known of the Board’s decision,
         he had admitted to the physical touching at issue here and, thus should have
         expected a sanction of some kind. (Cpl. ¶ 54).




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  However, Policy 703 supersedes “any other University policy to the extent that such policy applies

  to sexual misconduct.” (Cpl. ¶ 55). Policy 703 was revised as of March 13, 2018, (Cpl. Ex. 1)

  whereas the Student Code of Conduct was revised as of August 16, 2016. (St. John’s Exhibit A).

            f)   St. John’s failure to investigate: On January 7, 2019, Roe’s counsel made a

        complaint against Doe by telephone and email to Dean Jackie Lochrie and St. John’s

        Counsel Josh Hurwit as follows:

         I am attorney for [Roe]… I have forwarded a tweet- apparently from [Jane Doe].
         As a result of the tweet, [Roe] received calls and messages from someone
         threatening to “fuck up” [Roe]. I ask for University action to protect [Roe] from a
         violation of policy and false allegations. (Cpl. ¶ 61).

            g)   St. John’s recognition of Roe as a “victim of sexual misconduct:” On January

        16, 2019, Keaton Wong, St. John’s Director of Title IX Compliance, responded to Roe’s

        January 7 complaint against Doe as follows:

         Thank you for bringing to the University’s attention the tweet that was recently
         posted about you. Although the University cannot sanction the individual who
         posted the tweet because we cannot confirm their identity, we recognize that it has
         deeply affected you and other students in the St. John’s University community.
         Attached is the University’s ‘You are Not alone’ guide. (Cpl. ¶ 66)

         In its “Preface,” the “You are Not Alone” guide provides, inter-alia, as follows:

         St. John’s University is committed to supporting survivors of sexual violence…by
         providing the necessary safety and support services so that students can remain at
         St. John’s University, meet academic standards, obtain necessary health/mental
         health treatment, and maintain social relationships. This document is written for
         survivors of sexual misconduct…in order to assist survivors in the recovery
         process and in their efforts to heal from this unacceptable form of violence. (Cpl.
         ¶ 67).

  Thus, because of Roe’s January 7 complaint against Doe, St. John’s recognized him as a

  “survivor of sexual misconduct,” yet failed to undertake the “impartial” investigation of Doe as

  required by Policy 703 and Title IX. (Cpl. ¶ 68-69).




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     4) Roe’s repeated complaints against Doe. Roe’s counsel again complained to St. John’s

  Counsel, Joshua Hurwit, on June 12 and July 18. (Cpl. ¶ 71). On July 18, Mr. Hurwit responded

  as follows:

          Your requests regarding the “tweet” are self-serving and inaccurate. As I have
          explained to you on multiple occasions, the “tweet” was made anonymously, St.
          John’s University has no evidence whatsoever that [Doe] is the author of the
          “tweet…” (Cpl. ¶’s 71-72).

  Mr. Hurwit had evidence that the author of the tweet was almost certainly Doe since it referred to

  Roe as having been “suspended” for “raping me.” When Roe was suspended for alleged

  misconduct against Doe, St. John’s actively investigated, yet it did not investigate Roe’s

  complaint against Doe. (Cpl. ¶ 70- 73).

     5) St. John’s misleading assertions of its investigation of Roe’s complaints.
          In St. John’s memo, it does report that Roe’s counsel complained of the tweet creating a
  hostile working environment on January 7, June 12 and July 18. St. John’s memo states that it
  “immediately investigated” the January 7 complaint. (St. John’s memo, page 5). It states that “St.
  John’s Department of Public Safety attempted to investigate” Roe’s June 12 complaint. (St.
  John’s memo page 7). Yet, St. John’s offers no evidence that it ever investigated or attempted to
  investigate the tweet. St. John’s offers only evidence that it investigated or attempted to
  investigate physical threats or attacks on Roe.
     6) The Mary Smith incident: In December 2018, Roe was a passenger in an automobile
  which brought a very intoxicated “Mary Smith” to his apartment for her to see Roe’s roommate
  with whom she had had an affair. (Cpl. ¶s 96-97). After the roommate refused to permit her to
  enter his room, she went outside and slept on the concrete patio in the cold and rain. (Cpl. ¶s 99-
  100). The roommate refused to talk to her and to bring her back inside. (Cpl. ¶ 102). Thus, Roe
  brought her in to sleep on a couch and sat at the end of the couch to ensure that she did not vomit
  and endanger herself. (Cpl. ¶s 102-106). She left the following morning without incident. (Cpl. ¶
  107).
          However, she filed a complaint against Roe with St. John’s on January 5, 2019, one day
  after the “tweet storm” against St. John’s commenced. (Cpl. ¶ 108). Although Roe’s counsel



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  advocated for a fair procedure in adjudicating her complaint because the tweet storm against St.
  John’s had “gone viral” – St. John’s commenced the faculty hearing panel which heard Mary
  Smith’s complaint without even correcting the false statement of the tweet (Cpl. ¶s 111-114).
         The hearing started an hour late while the three hearing panel members, St. John’s
  investigator, its Director of Student Conduct and the St. John’s lawyer conferred with each other.
  At the hearing, the investigator responded to a question from the panel as to Roe’s credibility. He
  said that he found that Roe was not credible because he said he moved out of his apartment for
  his convenience. The investigator stated that Roe had actually moved out of his apartment to live
  with his mother 15 miles away. Roe responded that he left to live with his father near the
  campus. (Cpl. ¶s 116-123).
         The Mary Smith hearing board found Roe innocent of Smith’s accusation of “digital
  penetration,” but did find him “In Violation” of non-consensual sexual contact. However, on
  Roe’s appeal, the Chair of the St. John’s appeal’s board, who had also been the Chair of Roe’s
  first appeals panel, falsely stated as follows:
         After a hearing on September 17, 2019, the University Conduct Board found the
         Respondent to have violated the Code’s provision[s]. The evidence showed that
         the Respondent digitally penetrated the Complainant’s vagina while she was
         asleep at an off-campus private house.
                         *                           *                              *
         Respondent twice committed violations of a sexual nature. Both instances occurred
         while the complainants were unconscious. The Respondent has now a demonstrable
         history of preying on women while they were in a vulnerable state. (Cpl. ¶s 125)

         These were false statements. In the second hearing the panel found him innocent of the
  complaint of digital penetration. In the first hearing, Doe was not found to have been asleep
  during the incident. These statements refute the improper findings by an appeals Chair that Roe
  had a “history of preying on women.” The Chair’s improper findings demonstrate bias against
  Roe. Roe’s counsel moved to recuse the Chair of the Smith panel for possible bias against Roe,
  but the Chair declined in a lengthy statement.




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  St. John’s Policy 703 Section: VII. Process for Investigating
  and Resolving Complaints of Sexual Misconduct

  A. Initial Assessment

         Once a complaint or notice of any allegation of sexual misconduct is received, the
         Title IX Coordinator, or a designee, will make an initial assessment of the
         reported information.

  B. Preliminary Investigation

         If the Title IX Coordinator, or a designee, determines that this Policy or the Code
         of Conduct may have been violated, the Title IX Coordinator, or a designee, will
         notify the respondent in writing that a complaint has been filed and provide the
         factual allegations concerning the alleged violation, and possible sanctions…

         The Title IX Coordinator, or a designee, will schedule a meeting with the
         respondent, within a reasonable amount of time…

  C. Interim Remedies

         The University offers a wide range of interim remedies for students and
         employees designed to stop the alleged sexual misconduct, and/or to protect the
         safety and wellbeing of the individuals involved and the University Community.

  D. Notice of Outcome

         Both the Complainant and Respondent will receive simultaneous written notice of
         the outcome…

  Sequence of events as to Roe’s complaint against Doe

     1. January 7, 2019. Roe made a written complaint against Doe about the tweet.
     2. January 16, 2019. St. John’s acknowledged Roe as “victim of sexual misconduct”
         with respect to the tweet, based upon Roe’s January 7 complaint.
     3. St. John’s failed to:
         a) notify Doe that a complaint was made against her, and
         b) schedule a meeting with Doe about Roe’s complaint, and
         c) determine the remedy to prevent recurrence of the misconduct.




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  Introduction to argument

             a) The Second Circuit’s minimal pleading standards
         in determining a Rule 12(b)(6) motion

         In Doe v. Columbia Univ., 831 F.3d 46, 55 (2d Cir. 2016) the court stated the
  standard for the Rule 12 (b)(6) as follows:
         At the 12(b)(6) stage of a Title VII suit, allegation of facts supporting a minimal
         plausible inference of discriminatory intent suffices as to this element of the claim
         because this entitles the plaintiff to the temporary presumption of McDonnell
         Douglas until the defendant furnishes its asserted reasons for its action against the
         plaintiff.

         For this reason, we have often vacated 12(b)(6) and 12(c) dismissals of
         complaints alleging discrimination. We have also cautioned district courts against
         imposing too high a burden on plaintiffs alleging discrimination at the 12(b)(6)
         stage… “At the pleading stage, district courts would do well to remember this
         exceedingly low burden that discrimination plaintiffs face....” (citations omitted)

     b) Title IX and St. John’s Policy 703

         Title IX of the Education Amendments of 1972 provides, inter alia, that:

         No person in the United States, shall on the basis of sex, be excluded from
         participation in, be denied the benefits of, or be subjected to discrimination under
         any education program or activity receiving Federal financial assistance. (Cpl. ¶’s
         80- 82).

  Both the U.S. Department of Education and the U.S. Department of Justice have promulgated
  regulations under Title IX that require a school to “adopt and publish grievance procedures
  providing for the prompt and equitable resolution of student... complaints alleging any action
  which would be prohibited by” Title IX or regulations thereunder. 34 C.F.R. § 106.8(b) (U.S.
  Dep’t of Education); 28 C.F.R. § 54.135(b) (U.S. Dep’t of Justice). Policy 703 was promulgated
  pursuant to Title IX and its implementing regulations.
         Such prohibited actions include all forms of sexual harassment. (Cpl. ¶ 85) “The
  ‘prompt and equitable’ procedures that a school must implement pursuant to Title IX to
  “accord due process to both parties involved” must include, at a minimum: “Adequate,
  reliable and impartial investigation of complaints…” (Cpl. ¶’s 83- 86).
  Pursuant to Policy 703, all claims of violation must be investigated:




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         Once a complaint or notice of any allegation of sexual misconduct is received, the
         Title IX Coordinator…will make an initial assessment of the reported
         information.
                 *                            *                     *
         A preliminary investigation is when an investigator conducts a preliminary
         investigation and the Title IX Coordinator…will assess whether this Policy or the
         Student Code of Conduct may have been violated. (Cpl. ¶ 62).

  Pursuant to Policy 703, “Sexual Harassment” includes “sexual offensive comments…” and
  provides that:
         Sex discrimination is an act that disadvantages a person and that occurs because
         of the affected individual’s gender … Sexual harassment includes … verbal
         conduct of a sexual nature, when … such conduct is sufficiently severe…such
         that it limits an individual’s ability to participate in, or benefit from, the
         University’s education or work programs or activities (hostile environment). (Cpl.
         ¶ 63).

  Pursuant to Policy 703, St. John’s defines “hostile environment” as follows:

         A “hostile environment” exists when the conduct is sufficiently severe… that it is
         unreasonably interferes with, limits, or deprives an individual from participation
         in or benefiting from the University’s education… when judged against a
         reasonable person standard.

     c) The erroneous pleading standard stated by St. John’s
         St. John’s states a pleading standard of “severe and pervasive” for a finding determining
  sexual misconduct cases. (See St. John’s memo pp. 16 and 17). However, the actual pleading
  standard is “severe or pervasive.” See, Tubbs v. Stony Brook Univ., 343 F. Supp. 3d 292, 307
  (S.D.N.Y. 2018).




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  The Argument

                                              POINT I
   SINCE, INTER ALIA, ROE WAS SUSPENDED WITHOUT EXPLAINATION AND HIS
   APPEAL OF SANCTIONS DENIED THREE DAYS AFTER THE TWEET STORM, HE
    COULD NO LONGER BENEFIT FROM ST. JOHN’S EDUCATIONAL PROGRAMS
   AND STATES A CLAIM FOR SEXUAL DISCRIMINATION UNDER TITLE VII AND
   ST. JOHN’S POLICY 703, PURSUANT TO THE MINIMAL PLEADING STANDARDS
                           OF MCDONNEL DOUGLAS.

       Since, inter alia, Roe was suspended without explanation and his appeal of
  sanctions denied three days after the tweet storm, he could no longer benefit from St.
  John’s educational programs and states a claim for sexual discrimination under title VII
  and St. John’s Policy 703, pursuant to the minimal pleading standards of McDonnel
  Douglas. See Menaker v. Hofstra Univ., 935 F. 3d 20, 33-34 (2nd Cir., 2019), where the
  court held as follows:
         …Doe v. Columbia stands for the general principle that where a university (1) takes
         an adverse action against a student… (2) in response to allegations of sexual
         misconduct, (3) following a clearly irregular investigative or adjudicative process,
         (4) amid criticism for reacting inadequately to allegations of sexual misconduct by
         members of one sex, these circumstances provide the requisite support for a prima
         facie case of sex discrimination.

         Within five days of the tweet storm, St. John’s lapsed into a confusing and irregular
  pattern of responding to complaints of sexual harassment. Since, inter alia, Roe was suspended
  without explanation and his appeal of sanctions denied three days after the tweet storm, he could
  no longer benefit from St. John’s educational programs and states a claim for sexual
  discrimination under title VII and St. John’s Policy 703, pursuant to the minimal pleading
  standards of McDonnel Douglas.




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                                             POINT II
       SINCE ST. JOHN’S ERRONEOUSLY DETERMINED THAT ROE ENGAGED IN
   NON-CONSENSUAL SEXUAL CONTACT WITH DOE, ROE STATES A CLAIM FOR
                  GENDER DISCRIMINATION UNDER TITLE IX.

         Since St. John’s erroneously determined that Roe engaged in non-consensual sexual
  contact with Doe, Roe states a claim for gender discrimination under Title IX. See Menaker v.
  Hofstra Univ., 935 F. 3d 20, 50-52 (2nd Cir., 2019), where the court held that:
         “[W]hen the evidence substantially favors one party’s version of a disputed
         matter, but an evaluator forms a conclusion in favor of the other side (without an
         apparent reason based in the evidence), it is plausible to infer (although by no
         means necessarily correct) that the evaluator has been influenced by bias.” Id.

         After the faculty board made a finding that Doe had been drinking at the time of the
  incident in Paris in April 2018, it concluded that Roe was guilty of sexual misconduct based
  solely on two admissions. They were 1) that he had not been drinking, and 2) that Doe had taken
  his hand and placed it upon her fully clothed breasts. (Cpl. ¶s 28-29). Of course, the faculty
  board was not assembled to judge a complaint against Doe, but the conduct admitted by Roe was
  conduct which, if proven, would be a violation of the student code by her. (Cpl. ¶ 32).
         Obviously, the conduct to which Roe admitted actually constituted a violation of the
  Student Code by his accuser, not conduct constituting a violation of the Student Code by him.
  Thus, the decision was biased, since her conduct should be irrelevant to finding of a misconduct
  against him. Thus, on these facts, the evidence was clearly in favor of Roe, but the panel favored
  Doe. See also, Rolph v. Hobart and William Smith Colleges, 271 F. Supp. 3d 386, 399
  (W.D.N.Y. 2017) where the court stated that:
         …[A] plaintiff bringing an erroneous outcome challenge must allege the
         complaint (1) ‘particular facts sufficient to cast some articulatable doubt on the
         accuracy of the outcome of the disciplinary proceedings’; and (2) ‘a causal
         connection between the flawed outcome and gender bias.’

         Since St. John’s erroneously determined that Roe engaged in non-consensual sexual
  contact with Doe, Roe states a claim for gender discrimination under Title IX.




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                                         POINT III
          BECAUSE OF ST. JOHN’S DELIBERATE INDIFFERENCE TO
   INVESTIGATE ROE’S CLAIM THAT DOE SEXUALLY HARASSED HIM BY
  FALSELY ACCUSING HIM OF RAPE, ROE STATES A CLAIM FOR HOSTILE
                   EDUCATIONAL ENVIRONMENT.

       Because of St. John’s deliberate indifference to investigate Roe’s claim that Doe sexually
  harassed him by falsely accusing him of rape, Roe states a claim for hostile educational
  environment. See Papelino v. Albany Coll. of Pharmacy, 633 F. 3d 81, 88-89 (2nd Cir. 2017).
         The court in Papelino held as follows:
         A plaintiff can establish a hostile educational environment claim under Title IX if
         he demonstrates that he objectively perceives the environment to be hostile or
         abusive and that the environment permeated with discriminatory intimidation,
         ridicule, and insult sufficiently severe and pervasive that it altered the conditions
         of his education. Id. at 89.

         In addition, an educational institution will be held liable under Title IX if the
         plaintiff establishes that “a school official with authority to address the alleged
         discrimination and to institute corrective measures” knew of the discrimination
         and “failed to respond.” had actual knowledge to the discrimination and failed to
         adequately respond. Id.

         St. John’s counsel Josh Hurwit had knowledge of Doe’s sexual harassment of Roe since
  Doe was the only logical author of the language of the tweet, yet neither he nor any other person
  in authority at St. John’s investigated Roe’s complaint against Doe, notified Doe of Roe’s
  complaint, interviewed her on Roe’s complaint, or took corrective action as to the tweet in
  violation of Policy 703 Section VII.
         Mr. Hurwit’s and St. John’s inaction regarding Doe’s misconduct was obviously
  motivated by the “tweet storm” directed at St. John’s mistreatment of its female students. The
  entire conduct resolution process became corrupted by St. John’s bias in favor of its female
  students. Roe’s counsel contacted St. John’s counsel asking how a faculty board hearing could
  go forward since the tweet had “gone viral.” Roe was likely to be prejudiced by the false
  publicity of a confidential proceeding.
         Because of St. John’s deliberate indifference to investigate Roe’s claim that Doe sexually
  harassed him by falsely accusing him of rape, Roe states a claim for hostile educational
  environment.




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                                          POINT IV
      SINCE ST. JOHN’S ATTACHED TWENTY EXHIBITS TO ITS MOTION
       PAPERS INCLUDING “INVESTIGATORS’ REPORTS” AND OTHER
      CONFIDENTIAL DOCUMENTS NOT AVAILABLE TO PLAINTIFF OR
      RELIED UPON HIM IN DRAFTING HIS COMPLAINT, ROE ASKS THIS
                    COURT TO STRIKE THE EXHIBITS.

          Since St. John’s attached twenty exhibits to its motion papers including “investigators’
  reports” and other confidential documents not available to Roe or relied upon him in drafting his
  complaint, Roe asks this Court to strike the exhibits. See Menaker v. Hofstra Univ., 935 F. 3d 20,
  26 (2nd Cir., 2019) where the Court held that:
          As we have explained, “a plaintiff’s reliance on the terms and effect of a document
          in drafting the complaint is a necessary prerequisite to the court’s consideration of
          the document on a dismissal motion; mere notice or possession is not enough. Id.
          at 153 (emphasis in original). Menaker’s Amended Complaint does not rely on
          these extrinsic materials. Id. at 27 n.7.

  See also, Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002) where the court held
  that “a plaintiff’s reliance on the terms and effect of a document in drafting the complaint is a
  necessary prerequisite to the court’s consideration of the document on a dismissal motion; mere
  notice or possession is not enough.”
          In, Doe v. Sarah Lawrence Coll., No. 19-CV-10028 (PMH), 2020 U.S. Dist. LEXIS
  64245, at *16 (S.D.N.Y. Apr. 10, 2020) where the court faced a remarkably similar question.
  The plaintiff had sued his university for gender discrimination under Title IX after he was
  expelled as a result of a sexual assault claim. The university attached (1) the student handbook,
  (2) the final investigatory report, (3) the Hearing Panel’s determination letters, and (4) emails
  relevant to the motion to dismiss. The court struck the exhibits because “while such exhibits may
  be helpful at trial on the merits of Plaintiff’s allegations, it cannot be said, at this juncture, that
  such exhibits are integral to the complaint.” Id. at 16.
          Similarly, St. John’s attached its Student Code of Conduct, personal and confidential
  letters and emails, and investigators’ reports. The reports are replete with purported hearsay
  statements from unidentified witnesses, which are not considered at the pleading stage. See
  Karol v. City of New York, 396 F. Supp. 3d 309, 318 (S.D.N.Y. 2019) (“Evidence attached by the
  defendants [as exhibits to the motion to dismiss] is plainly hearsay and is not proper for
  consideration on a motion to dismiss.”).



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        St. John’s concluded, without support, that Roe relied upon its investigators’ reports in
  drafting the complaint, and Mr. Hurwit’s statement that Roe “received” copies of the
  investigators’ reports is false. (Eikenberry affirmation). Since St. John’s attached twenty exhibits
  to its motion papers including “investigators’ reports” and other confidential documents not
  available to Roe or relied upon him in drafting his complaint, Roe asks this Court to strike the
  exhibits.


                                          POINT V
      SINCE ST. JOHN’S FAILED TO INVESTIGATE ROE’S COMPLAINT
     AGAINST DOE AND FAILED TO PROTECT ROE BY NOTIFYING THE
      PUBLIC OF THE FALSITY OF THE TWEET, ST. JOHN’S FAILED TO
     CORRECT A HOSTILE WORKING ENVIRONMENT IN VIOLATION OF
                         TITLE VII POLICY 703.

         Since St. John’s failed to investigate Roe’s complaint against Doe and failed to
  protect Roe by notifying the public of the falsity of the tweet, St. John’s failed to correct
  a hostile working environment in violation of Title VII and Policy 703. Menaker v.
  Hofstra Univ., supra (2nd Cir., 2019) where the Court held as follows:
         First, it is plausible that Kaplan’s accusations were motivated, at least in part, by
         Menaker’s sex. While Kaplan’s primary motivation may have been financial or
         vindictive, Title VII requires that we look beyond primary motivations. Indeed,
         courts must determine whether sex was a motivating factor, i.e., whether an
         adverse employment action was based, even “in part,” on sex discrimination.
         Here, Kaplan did not accuse Menaker of just any misconduct; she accused him of
         sexual misconduct. That choice is significant, and it suggests that Menaker’s sex
         played a part in her allegations. A rational finder of fact could therefore infer that
         such an accusation was based, at least in part, on Menaker’s sex. Id. at 39.

         Here St. John’s was aware that someone breached its confidentiality mandate. St.
  John’s knew that the tweet was false since Roe was not suspended for rape. St. John’s
  Counsel knew that Doe was the most obvious author of the language of the tweet. Indeed,
  St. John’s had determined on January 16, 2019, that Roe was a “victim” of “sexual
  misconduct” by reason of the tweet. Yet, after Roe’s counsel made a complaint against
  Doe to St. John’s Counsel Hurwit on January 7, Mr. Hurwit permitted Roe to be
  summarily suspended on January 8 and expelled on October 3, 2019, without even
  correcting the false statement that Roe had been suspended for rape.


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         Since St. John’s failed to investigate Roe’s complaint against Doe and failed to
  protect Roe by notifying the public of the falsity of the tweet, St. John’s failed to correct
  a hostile working environment in violation of Title VII and Policy 703.

                                               POINT VI

   ALTHOUGH ST. JOHN’S ACKNOWLEDGED ROE’S COMPLAINT AGAINST DOE,
  THAT HAD RESULTED IN ROE BEING A “VICTIM OF SEXUAL MISCONDUCT,” IT
      DID NOT NOTIFY DOE OF ROE’S COMPLAINT IN WRITING, DID NOT
   SCHEDULE A MEETING WITH DOE, OR PROTECT ROE BY CORRECTING THE
      FALSITY OF THE TWEET AS REQUIRED BY POLICY 703 SECTION VII.

         Although St. John’s acknowledged Roe’s complaint against Doe, that had resulted in Roe
  being a “victim of sexual misconduct,” it did not notify Doe of Roe’s complaint in writing, did
  not schedule a meeting with Doe, or protect Roe by correcting the falsity of the tweet as required
  by Policy 703 Section VII. See, Novio v. New York Acad. of Art, 317 F. Supp. 3d 803, 813
  (S.D.N.Y. 2018) where the court held as follows:
         Defendant Academy's assertions “to respond promptly to complaints
         of sexual harassment ...,” and “to take immediate action to
         eliminate sexual harassment, prevent its recurrence, and address its effects” mirror
         the promises made by the school in Village Community School v. Adler “to detect
         learning deficiencies, and to provide the necessary tutorial and guidance
         services.” Vill. Cmty. Sch. v. Adler, 124 Misc. 2d 817, 817, 478 N.Y.S.2d 546,
         547 (Civ. Ct. 1984). In making each of the above assertions via the Student
         Handbook and/or the Website, Defendant Academy put itself out as an entity that
         would act in particular ways in certain situations, and as such, made specific,
         concrete promises. As such, the Academy stated that it would engage in actual,
         finite promises of action, and Plaintiff has sufficiently alleged as such to
         withstand dismissal on this motion. (Citations omitted)

         In Papelino v. Albany Coll. Of Pharmacy of Union Univ., 633 F.3d 81, 93-94 (2d Cir.
  2011), the court held that a contract between a student and the school is created at point of
  enrollment and if the student “complies with the terms prescribed by the university and
  completes the required courses, the university must award him a degree. The court also held that
  the school needs to "act in good faith in its dealing with its students" [and] that the school
  breached this duty by failing to investigate Papelino's complaint of sexual harassment…”
         Mr. Hurwit permitted an investigation to go forward and a hearing to occur on Smith’s
  complaint but did not treat Roe with the same procedural regularity and process his



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  complaint. Although St. John’s acknowledged Roe’s complaint against Doe, that had resulted in
  Roe being a “victim of sexual misconduct,” it did not notify Doe of Roe’s complaint in writing,
  did not schedule a meeting with Doe, or protect Roe by correcting the falsity of the tweet as
  required by Policy 703 Section VII.


                                         POINT VII

    SINCE DISCLOSURE OF ROE’S IDENTITY WOULD REVEAL PERSONAL
    AND SENSITIVE INFORMATION AND WILL LIKELY SUBJECT HIM TO
     FURTHER PHYSICAL AND MENTAL HARM, HE ASKs THIS COURT TO
                      PROTECT HIS IDENTITY.

          Since disclosure of Roe’s identity would reveal personal and sensitive information and
  will likely subject him to further physical and mental harm, he asks this Court to protect his
  identity pursuant to factors 1 and 2 of A.B. v. Hofstra Univ., No. 2:17-cv-5562 (DRH)(AYS),
  2018 U.S. Dist. LEXIS 68918, at *2 (E.D.N.Y. Apr. 24, 2018) and set forth on page 32 of St.
  John’s memo. The factors are as to:
          1. Whether the litigation involves matter that are highly sensitive and personal
             [in] nature, and
          2. Whether identification poses a risk or retaliatory physical or mental harm to
             the… party [seeking anonymity]…

          Roe was subjected to violent threats and experienced physical attacks upon the posting of
  the Tweet. (Cpl. ¶’s 45-47). Doe alleged violent sexual misconduct by Roe which allegations
  were admittedly rejected by the French police. (Doe’s memo page 3). The St. John’s faculty
  hearing board also rejected them. St. John’s cannot demonstrate a significant reason that any real
  interest would be served by revealing Roe’s identity other than to victimize him and to further
  victimize him by republicizing the tweet.
          Since disclosure of Roe’s identity would reveal personal and sensitive information and
  will likely subject him to further physical and mental harm, he asks this Court to protect his
  identity.




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  Conclusion
         Wherefore, Roe respectfully requests that this Court deny St. John’s motion in all
  respects and award Roe his attorney’s fees and such other and further relief as shall be
  just and equitable.
                                                               Attorneys for plaintiff Richard Roe

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